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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

        - against -                                          18 Cr. 609 (RJD)

HERMAN BLANCO,

                          Defendant.

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           DEFENDANT HERMAN BLANCO’S SENTENCING MEMORANDUM




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I.      Preliminary Statement

        On October 4, 2018, Herman Blanco was arrested and detained for a violation of the

terms of his New York State parole. Later that day, while Mr. Blanco was still in custody,

Sylvester Zottola was shot and killed by Mr. Blanco’s co-conspirators; one of Mr. Zottola’s sons,

Salvatore Zottola, was targeted during a prior incident as well but survived. Mr. Blanco was not

the architect of the conspiracy, nor was ever expected to be the shooter. Indeed, Mr. Blanco had

also not been present for any of the prior attempts on Mr. Zotolla’s life, nor any on his son.

Nonetheless, Mr. Blanco acknowledges that he was well ensconced in the conspiracy and had

aided and abetted the substantive offense by, inter alia, helping his co-defendants find

individuals willing to accept money in exchange for murder.

        The instant memorandum of law is submitted on Defendant Herman Blanco’s behalf, not

to offer excuses for his conduct, but rather to aid this Court’s understanding of the factors that

influenced his choices and behavior over the years, which we believe warrant a measured

sentenced that is fair and just and complies with the purposes of sentencing.1 To that end, it is

respectfully suggested that a sentence of 240 months’ imprisonment on one or either counts of

conviction, to run concurrent to each other, is a fair and just sentence in this case – one that will

permit Mr. Blanco an opportunity to work towards redemption as he serves what would still be a

very lengthy sentence.




1
          Attached collectively as “Exhibit A” are the letters from the following family and friends: Maura Blanco
(Mr. Blanco’s mother); Alexis Avila (Mr. Blanco’s brother); Ebony Knight (Mr. Blanco’s friend); Tracey Taylor
(friend); Mark Gutierrez (friend); Robbert Kean (friend); Issa Mendez (niece); and Jazmyne Washington (friend and
also Alexis Avila’s life-partner). Attached collectively as “Exhibit B” is a letter from Sanja Jones, Program
Manager of The Osborne Association and certificates of completion received during Mr. Blanco’s participation in
their programs.

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II.       The Charges

          Mr. Blanco was charged in four counts of an eight-count Superseding Indictment with:

Murder-for-Hire Conspiracy (Count 1); Murder-for-Hire (Count 2); Unlawful Use and

Possession of Firearms (Count 3); and Causing Death Through Use of a Firearm (Count 4).

Pursuant to the terms of his plea agreement, however, Mr. Blanco was only required to plead

guilty to lesser included offenses contained in Counts 1 and 2. See Plea Agreement, dated, April

29, 2022, at ¶ 1; see also Pre-Sentence Report, dated, August 5, 2022 (hereinafter cited as,

“PSR”), at ¶ 1

          Pursuant to the terms of the plea agreement, Mr. Blanco faces a maximum sentence of

20-years’ imprisonment on each count of conviction, which can be run concurrent or consecutive

at the discretion of this Court. See Plea Agreement at ¶ 1; see also United States v. Pugh, 945

F.3d 9, 27 (2d Cir. 2019) (explaining that the Guidelines “provide a presumption in favor of

concurrent sentences except when consecutive sentences are required in order to impose a total

sentence reflecting just punishment”), citing, U.S.S.G. § 5G1.2(c) (“If the sentence imposed on

the count carrying the highest statutory maximum is adequate to achieve the total punishment,

then the sentences on all counts shall run concurrently, except to the extent otherwise required by

law.”).

          There is no minimum sentence required on either count, see Plea Agreement at ¶ 1, and

the recommended Guidelines range, if applied consecutively, would be an aggregate sentence of

360 – 480 months’ imprisonment, see PSR ¶ 102, citing, U.S.S.G. § 5G1.2(b). If, however, this

Court agrees that the sentences should run concurrently since the conspiracy (Count 1) and the

substantive offense (Count 2) relate to the same underlying conduct, then the recommended

Guideline sentence would be 240 months’ imprisonment since the recommended Guideline



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range is limited by the statutory maximum of 20 years’ imprisonment. See U.S.S.G. § 5G1.2(b);

see also U.S.S.G. § 5G1.2, Application Note 3(B) (“where a statutorily authorized maximum

sentence on a particular count is less than the minimum of the applicable guideline range, the

sentence imposed on that count shall not be greater than the statutorily authorized maximum

sentence on that count.”), citing, U.S.S.G. § 5G1.1(a).

        Notably, “The defendant has stipulated that, at sentencing, he will not advocate for a

sentence below 240 months.” Plea Agreement at ¶ 2. The defense was willing to enter into this

unusual limitation on Mr. Blanco’s rights under 18 U.S.C. § 3553(a), because, based upon Mr.

Blanco’s age, role in the offense, and other mitigating factors discussed herein, we believe an

aggregate sentence of no more than 240 months’ imprisonment would be sufficient, but not

greater than necessary, to satisfy the purposes of sentencing with respect to this defendant in this

case.    We note, however, our strong belief that any sentence greater than 240 months’

imprisonment would be unjust and unreasonable, at least with respect to Mr. Blanco.

III.    A sentence of no more than 240 months’ imprisonment is just and appropriate2

        When Mr. Blanco, Herman,3 is sentenced by this Court on December 6, 2022, he will be

about one week past his 38th birthday. Although he has only one prior criminal sentence of any

notable length, since he served over 11 years imprisonment in that case, he has spent much of his

adult life incarcerated. This, after a childhood filled with abuse, neglect, childhood depression,

and loss. His unusually difficult childhood led him to depend on his friends for support and

guidance as a substitute for parents, and that crutch turned to misplaced loyalty, and in turn to

2
         The following section is based upon a series of interviews conducted with: Mr. Blanco; his mother Maura
Blanco; his sister Susie Mendez; his brother, Alex Avila; his friend, Ebony Knight; his mentor Karl Knight; and
close friends Mark Gutierrez and Tracey Taylor. In addition, in putting together the summary that follows,
documents were reviewed from: the Social Security Administration; Osborne Association; Odyssey House;
Edgecombe Treatment Center; Lincoln Hospital; and Taft High School.
3
         We will be referring to persons throughout this section by their first names to avoid confusion. We mean
no disrespect to those individuals, nor this Court, by doing so.

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where he is today. But through it all Herman has accepted responsibility and demonstrated

genuine remorse for his involvement in Sylvester Zotolla’s murder and Salvatore Zotolla’s

injury. Herman knows that his crimes warrant a significant sentence, and he prays that this Court

will agree that 20 years is significant enough.

         A.       Mr. Blanco’s Family Background

         Herman’s parents were born and raised in Guatemala and are part of the Garifuna people

of Central America.4 Though Herman was made aware of the importance of knowing his

family’s cultural heritage, he grew up not knowing his father. He was raised by his mother,

whose background and actions were the primary influences on his development.

         Maura Blanco, Herman’s mother, was born on November 2, 1957, in Guatemala. She is

the oldest of four children but she had no relationship with her parents. She was raised by her

maternal grandparents in extremely poor conditions.                      When interviewed by Defendant’s

mitigation specialist, Maura explained that her father lived in the United States but failed to

support her financially, which meant she was doomed to a childhood of poverty.

         Maura’s education stopped in the 2nd grade because she had to stay home to help her

grandparents. At the time, her grandparents were working on farms and selling cassava to eke

out a living. She started working on her own at age 15 as a maid for various people. She was

cleaning houses when she met Herman Sandoval, Herman’s father, whose confident demeanor

impressed her. Sandoval made her feel he cared about her and wanted to help her achieve a

better life.

         Maura moved in with Sandoval and his mother because that arrangement seemed like a

step in the right direction, but a few months later she broke up with Sandoval and returned to her

4
        Also known as the Black Caribs, they are the descendants of the Aboriginal Carib Indians and Africans
who intermarried and created a large populous civilization that still lives in St. Vincent and the Grenadines, Belize,
Guatemala, and Nicaragua.

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mother’s home. The return to her grandmother’s home came about after she learned that her

father had filed for her to join him in the United States.

       Maura and her sister traveled to the United States on March 19, 1983, to live with her

father and his wife in the Bronx. Maura was 25 years old at the time but still unsure about the

direction of her life. Having had no relationship with her father during her childhood, she

doubted whether a father who had been estranged for so long could be trusted to treat her well.

       As she feared might happen, Maura and her sisters were “treated horribly” by her father

and his wife. Her father was impatient and unsupportive and had a complete lack of sympathy

for her sister Isabel who was pregnant. In September 1983, six months after joining her father in

the United States, Maura was so discouraged that she returned to Guatemala.

       In Guatemala, Maura reunited with Sandoval and got pregnant, which reportedly was

welcome news for Sandoval who wanted to be a father. However, instead of staying with

Sandoval, she returned to the United States in July 1984 to live with her sister Isabel.

According to Maura, she relied on her sister for financial support. She was about five months

pregnant with Herman when she arrived in the United States.

       About a year after Maura gave birth to Herman, she became pregnant with Herman’s

brother, Alex Avilla.    Maura explained that Alex was the product of a brief sexual encounter

with a man named, Vincente Avila.        Alex was born in 1986 and is a year and a half younger

than Herman. With the birth of her second son, Maura was left as a single mother with no

support from either father; she never saw or heard from Vincente while she was pregnant with

Alex and she lost contact with Herman’s father, Sandoval, because she ended communications

with him after she returned to the United States.




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       Maura explained that she could not afford to support her two babies and was dependent

on her sister for housing and financial support for much longer than she had intended. She later

became involved with Cesar Mendez, for whom she became pregnant with her third child,

Suzette Mendez. By this point, living conditions had become so cramped that it was no longer

feasible for her to remain with her sister. For a period of time, out of desperation, Maura moved

in with Suzette’s father, but that arrangement was untenable as he was abusive.

       In 1988, Maura moved to a homeless shelter. She realized that it was no longer feasible

to depend on her sister for lodging and support and she could not live with Suzette’s father any

longer because of the abuse. Maura’s daughter, Suzette, confirmed that her father (Mendez)

abused her mother.      Suzette recalled that her parents’ interactions were conflict driven.

According to Suzette, Mendez did not live exclusively with Maura but made regular visits, which

frequently ended in fights.

       B.      Mr. Blanco’s Childhood

       Herman, who was three years old when his sister Suzette was born, still has memories of

the domestic abuse between his mother and Mendez. “They argued a lot,” Herman remarked,

but due to his need for a father, Herman also developed a bond with Mendez. He was hoping

that his need for a father would prompt his mother and Mendez to resolve their differences.

       According to Herman, Mendez allowed him to feel like a regular kid. He noted that his

brother, Alex, who was also fatherless, was treated fairly by Mendez. When Mendez gave to his

daughter Suzette, he also gave to Herman and Alex. Given Herman’s hope for a normal family,

it was devastating for him when his mother and Mendez separated. Herman was seven years old

when the separation occurred. He felt his life had been altered and as a child could not fully

understand the reasons why.



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       After Mendez left, Herman was forced into assuming the role of “man of the house” –

thus, he was seven years old when the responsibility of taking care of his younger siblings was

thrust upon him. His mother impressed upon him that his siblings’ safety was in his hands

because she had to earn money by babysitting children in the neighborhood. Herman not only

had to prepare himself for school, but also ensure that his brother Alex was ready for school. In

addition to taking care of his siblings, he also had to find time to help his mother care for the

neighbors’ babies.

       Things got better when Herman’s mother entered into a long-term relationship with Pedro

Lino. Herman latched on to Pedro as “the only father [he] ever knew.” Maura confirmed the

close relationship between Herman and his stepfather Pedro and noted that Pedro was good to

her and her children. “He was the best thing that happened to us,” she added.

       Maura’s relationship with Pedro started shortly after she was transferred from the shelter

to an apartment at 605 Franklyn Avenue in the Bronx. Pedro moved in with her and the children.

He worked as a janitor and was a good provider.

       Herman saw Pedro as the man who came to rescue his childhood. He was 12 years old

when Pedro moved into the home. Herman embraced Pedro as a role model and wanted to be

just like him. He said of Pedro, “He was a real standup dude, and, if there is anyone I would like

to be, it would be him.”

       With the support and assistance from Pedro, the family was able to move into a better

neighborhood. Herman was optimistic when the family moved to 1650 Toppin in the Bronx,

which he saw as better than the neighborhood he lived in previously. According to Herman,

having the support and guidance of his stepfather, and living in a better neighborhood, made him

feel like he had a future. Herman’s siblings echoed the same.



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       Suzette stated that Pedro gave them guidance on conduct and on personal hygiene. Pedro

insisted that the children take regular baths, and, at Christmas, his gifts included towels and

socks. Alex remarked that he was skeptical of Pedro’s intentions initially, but he came to realize

that Pedro was genuine about being a positive influence. Pedro was the kind of parent who

rewarded good behavior, Alex stated. Alex recalled an instance when Pedro kept his promise to

reward Herman with a pair of sneakers for getting an A in class.

       Herman also explained that Pedro motivated him to achieve in school.                   The

encouragement Pedro gave him also supported by an African American teacher, Levi Murray.

According to Herman, Mr. Murray preferred for the students to call him Brother Levi. He said

Brother Levi instilled in students of color a sense of purpose and pride.

       Sadly, Herman’s relationship with his teacher changed for the worse in the 7th grade.

According to Herman, Brother Levi asked students to write about what they wanted to be when

they grow up. Herman wrote that he would like to become the President of the United States. “I

was serious. That was what I wanted to be,” Herman recalled. He had learned that the United

States had not yet elected a black man to be President throughout its history, and so he took on

the aspiration of becoming the first black president. His aspiration was shattered, however, when

his African American teacher, Brother Levi, told him his ambition was impossible.

       According to Herman, Brother Levi told him that the United States would never elect a

black president. As a point of reference, this was now the mid-90s, and, as this Court will surely

recall, that pessimism was shared by a great many people of all races at the time. Even those

hopeful for change referred to Bill Clinton, a white man born in Hope, Arkansas, as “the first

black President”. Herman was crushed by what his teacher told him, as he felt those words must

be true coming from a teacher whom he loved and trusted. That interaction with his teacher –



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and not just any teacher but one he looked up to and trusted – made Herman feel that as a black

kid he was wrong to aspire too high because his educational and career options were limited.

       Given the interaction with his teacher, Herman felt that the only achievable career path

was to follow in his stepfather’s footsteps – still an honest and respectable living, but not one

reaching nearly as high. His stepfather, Pedro, was a porter/janitor and Herman started to follow

him to work on weekends. He also assisted his stepfather on “side jobs,” which involved fixing

electronic equipment.

       Herman’s brother Alex also accompanied Pedro to construction and electronics jobs.

“We worked with him on the weekends and on holidays,” Herman said. Pedro showed them

how to buy material and equipment for work projects and taught them how to dismantle and fix

electronic appliances. “He became the best role model I could have,” Herman stated.

       C.      The Impact of Pedro Lino’s Stroke

       In 2001 or 2002, Herman’s stepfather, Pedro Lino, had a massive stroke. Herman was 17

years old at the time. Pedro was the backbone of the family and the primary income earner, so

his debilitating illness became a crisis for the family. Herman was once again thrust into the role

of “man of the house.” He dropped out of high school while in the 11th grade, so he could work

to support the family.

       Herman worked at T.J. Maxx and used his wages for rent, utilities, food, and other

household expenses. His mother continued to babysit, but her income was unreliable and

insufficient to support Herman and his siblings.

       Alex and Suzette confirmed that Herman dropped out of school to provide for the family.

They said Herman became the head of the household, and thus was responsible for their




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wellbeing and that of his mother. According to Alex, he eventually started to work to ease some

of the financial burden Herman had to carry.

       Another disturbing issue resulting from Pedro’s disability was the breakdown in structure

and discipline at home. Herman and his siblings became susceptible to the streets. As confirmed

by Alex: “We started to hangout. When Pedro was in the home we couldn’t go outside if the

house was not clean. When he got sick, everything went downhill.” According to Alex, the

breakdown in structure affected not just him and Herman, but also their sister Suzette who

became pregnant.

       Suzette explained that financial and emotional tension led her and her siblings to look for

answers outside the home. She explained that when Pedro became ill, family members felt under

siege by forces they could not control. She indicated that there was very little that Herman could

do, despite his efforts, to make the family feel hopeful.

       According to Suzette, a difficult situation was made worse when Pedro’s estranged wife

and relatives emerged to assert themselves as his next of kin. Pedro had separated from his wife

before he moved in with Maura, but they never divorced. When he became ill, according to

Suzette, his wife re-inserted herself into his life and forbade Maura from making decisions on his

behalf. Suzette recalled that Pedro eventually made it known to his wife that Maura should have

an input in any decision affecting him. “My mother was there everyday to take care of him,”

Suzette stated, the estranged wife was not.

       The emotional and financial impact of Pedro’s illness was especially hard for Herman.

He idolized Pedro as his hero and role model, and so he was unable to cope with seeing Pedro in

a diminished state. “It was like seeing Superman in a wheelchair,” Herman remarked. Suzette




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confirmed that Herman was emotionally unable to accept Pedro’s incapacity. According to

Suzette, Herman stayed away increasingly to avoid seeing Pedro deteriorate.

       Herman was lost and disoriented without his stepfather and wilted emotionally as Pedro’s

condition worsened. Herman soon became susceptible to any outside interaction that appeared to

offer consolation or support. This made him impressionable to choices he would not have

entertained before.

       D.      Mr. Blanco’s prior crime, his good conduct while on parole for that
               offense, and his friendship with Bushwan Shelton.

       In 2006, when Herman was 21 years old, he was arrested for a home invasion. This was

not his first arrest, but it was certainly his most serious to this point. He expressed regret for the

“stupid stuff” that resulted in that arrest, and explained that his current co-defendant, Bushwan

Shelton, was also arrested in the 2006 case, had also been convicted but had the conviction

reversed. Herman’s appeal, however, was denied, and he ended up serving approximately 11

years in prison for the offense (from his arrest on April 21, 2006, until his release from custody

on May 16, 2017).

       Notwithstanding the different outcomes of their appeals, Herman and Shelton were close

friends at the time and remained close friends ever since. Their long-standing friendship goes

back to the time they lived on the same block as teenagers, and that friendship took on added

meaning for Herman after his stepfather Pedro became incapacitated. While Herman was reeling

emotionally, he became impressionable to Shelton’s apparent ability to make progress. Herman

cited, for instance, that he had to drop out of school, but Shelton was able to complete high

school. Furthermore, according to Herman, Shelton obtained a job with the Transportation

Security Administration (TSA), but Herman had to settle for a job as an overnight stocker at a

store where he was unable to earn enough to support his family.


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       While incarcerated for the 2006 case, Herman received news that his stepfather Pedro had

passed away. Even though Pedro had never fully recovered from the stroke, the death of

Herman’s stepfather had a deep emotional impact on him.            Herman felt that by being

incarcerated he had let down the family who depended on him while Pedro was dying.

       Herman also indicated that upon being incarcerated in 2006, he worried about his safety

but also tried to focus on positive goals. He identified with the Rastafarian faith, being both

black and Hispanic, but noted that the prison system kept putting him with gang members to

whom he had no affiliation. He recalled being placed with Bloods gang members, despite his

protest to prison authorities that he was not a gang member. He also explained that other inmates

nicknamed him “Taliban” because of his long beard.

       According to Herman, he tried to get transferred to safer facilities while he was serving

time for the 2006 offense. He wanted to focus on preparing for his release rather than having to

worry about assaults or provocations from other inmates.        Records from New York State

Corrections and Community Supervision show that Herman participated in academic classes,

work, and training programs while serving his sentence.

       When Herman was released on parole to the home of a friend, Mark Gutierrez, on May

16, 2017, he turned his attention to getting employment.       Mark, who lives with his wife,

corroborated that Herman, “just worked, come home, and work again the next day.” He noted

that Herman appeared stressed but was a good house guest. Herman was not the hanging out

type, Mark said. Sometimes while Mark and his wife were watching movies at home, Herman

would join them. Herman also made a financial contribution to help cover household expenses

when he lived in Mark’s home.




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        After living with Mark for a few months, Herman was forced to seek shelter with his co-

defendant Shelton. This occurred when Mark lost his apartment. Herman was faced with the

urgent choice of either finding a new place or sleeping on the street, so Herman turned to Shelton

for help to avoid being homeless. At the time, Shelton was living with his wife but agreed to

take Herman in.

        Herman and his then-girlfriend, Ebony Knight, lived in Shelton’s home from September

2017 until March of 2018. Ebony said she did not notice any suspicious activity while she and

Herman lived with Shelton. She stated that Herman worked, and she operated a hair salon

business, called Textured Press, during the time in Shelton’s home.        According to Ebony,

Shelton operated an employment agency geared to finding employment for the formerly

incarcerated. She remembered that Shelton also had a T-Shirt company and his wife was an

airport employee.

        In March 2018, Ebony and Herman moved from Shelton’s house to her uncle’s home in

the Bronx. According to Ebony, they left Shelton’s home because it was undergoing major

renovations, and Herman continued to work in construction after they moved to her uncle’s

home.

        Herman’s Parole Officer, Ms. Marshall, corroborated that Herman was working in

construction and recalled that he impressed as a dedicated worker who was focused on “positive

pursuits.” In a letter from the Osborne Association, dated, December 6, 2019, the program

Manager Sanja Jones indicated that Herman participated in a 4-week Re-Entry Employment

Program at the Career Center. See Exhibit B at 1. She noted that the program started on July 5,

2017, and was completed on July 28, 2017, at which point Herman obtained a 10-hour OSHA

Certification. Id. Ms. Jones writes that Herman was “such a pleasant and mild-mannered



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participant [that] he was allowed to return to take the 30-hour OSHA the following year,” and

received his 30-hour OSHA card in July 2018. Id. (emphasis removed). Ms. Jones described

Herman as a “model participant” who “was always on time; assignments were completed within

a timely manner and had excelled during the Hard Skills component of the training.” Id.

       His training and early exposure to construction from his stepfather Pedro served him well

in the construction industry where he primarily worked following incarceration. According to

Herman, his last job prior to his arrest for the instant offense was at All Island Concrete where he

was earning $25.00 per hour. He recalled that his employment at All Island allowed him a take-

home income of $800.00 per week.

       In the summer of 2018, just a few months after Ebony and Herman had moved in with

Ebony’s uncle and moved out of Shelton’s home, Herman was approached for assistance in

finding people willing to participate in the offense. Herman agreed out of his loyalty to his

friends, but Herman knew that committing any crime was wrong and he is genuinely remorseful

and ashamed for having participated in the murder, regardless of his role; a tragic decision he can

never take back.

       Herman was arrested on October 4, 2018, for a parole violation after testing positive for

marijuana.   Later that evening, while Herman remained in custody, Sylvester Zotolla was

murdered. Herman was transferred to the Edgecombe Residential Treatment Facility and later to

Federal custody, and he has remained in custody since his October 4, 2018, arrest. See PSR at 1

(listing November 16, 2018, as the date of his arrest in the instant Federal case).

       E.      Mr. Blanco’s Stable Relationship and Purpose-filled Life

       For several years, Herman maintained a steady relationship with Ebony Knight.             In

acknowledging her relationship with Herman, Ebony then referred to him as her fiancé. She



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recalled meeting Herman in May 2000 when he was 15 years old.             She was drawn to him

because they shared a deep sense of responsibility to family, despite their young age.

       Ebony explained that, unlike Herman, she came from a household of married parents and

was raised in the Jehovah’s Witness faith. She indicated that although Herman did not have a

similar faith, she perceived that he was a good person at heart and was trying to do the best he

could under difficult circumstances. It was obvious to her that Herman was determined to

succeed despite the odds against him.

       In interviews, Ebony described Herman as “compassionate, giving and forgiving.” She

said his demeanor was “calm and laid back” during their many years of interaction. She said

Herman was never abusive and he would get emotional when talking about their relationship.

She added that Herman treated her with love and respect.

       According to Ebony, Herman and her father, Carl Knight, developed a close bond. She

said her father had spent eight years in prison but was able to “pull himself up” and buy a home

and support his family. “I was raised not to give up on who you love and that was how I felt

about me and Herman,” Ebony stated.

       Ebony expressed that the rehabilitation she saw in her father was also possible for

Herman. As a result, she was encouraged when Herman gravitated to her father. “He admired

my father who always worked two jobs,” Ebony recalled. She added that, given Herman’s

motivation to improve, she was willing to stick with him like her mother stuck with her father.

       Herman confirmed his bond with Ebony’s father, Carl Knight. According to Herman,

after he lost Pedro, he began to see Carl Knight as a substitute father figure. Herman said of

Carl: “He had such a positive energy. A humble dude with a positive attitude.” He expressed

admiration for Carl’s strong work ethic and commitment to family.



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       Ebony and Herman were thinking of expanding her hair salon business before he was

arrested for the instant offense. Reportedly, Ebony continues to operate the hair salon she has

owned for over three years. Ebony stated that she and Herman recognized that the salon chair

held some therapeutic value for several of her customers. “We came up with the concept of

catering to African American women and educating them about the process of hair as well as

personal growth,” Ebony stated.

       According to Ebony, she and Herman worked on a business plan to improve their ability

to earn income. She said the plan entailed expanding the salon business and pursuing investment

opportunities. She recalled that his work within the construction industry opened the possibility

of securing foreclosed properties or “fixer-uppers” where he would fix and flip them for sale. He

explained that he had a credit score of over 800 and with both their incomes, it would have been

easy for them to get loans. His arrest in this case, of course, thwarted those plans.

       The relationship between Herman and Ebony has gone through changes since his

decision to plead guilty in this case. This was a decision that Herman made in an effort to allow

her to move on with her life; Ebony demurred when we spoke to her about their breakup, stating

that she prefers not to discuss the current status of her relationship with Herman. He pointed out

however that following his decision to take a plea and not fight his case at trial, he told Ebony

that it would be unfair to have her put her life on hold for him as he faces what will be many

years in prison. Even though she had prepared to once again be there for him, he remains

adamant that Ebony have a bright future with her ambition and business savvy, and that she have

the opportunity to live a full life that would include having a family. Waiting for him, yet again,

in his opinion would be unfair to her.




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       Despite Herman’s decision, Ebony has indicated her support for him even as a friend, and

this is evident in the letter that she has written to Your Honor on Herman’s behalf. In that letter,

Ebony writes:

                  Ensuring safety, showing concern and giving freely are all parts of
                  Herman’s character that the world needs especially today. Some
                  years back I expressed to Herman my dream of owning my own
                  business which would serve the underprivileged community we
                  grew up in. Even while incarcerated he was able to keep pushing
                  and encouraging my efforts to be successful because he understood
                  how that would uplift our community. Proudly my business has
                  been featured in several magazines like Allure and Cosmopolitan
                  while our products have been raved by some of communities very
                  influential women. I won’t say these things couldn’t have
                  happened without Herman. What I will say is success is nearly
                  impossible without encouragement. Myself, my business and our
                  community is grateful for Herman’s encouragement, amongst
                  others.

Exhibit A at 3.

       Ebony also describes other stories including one that speaks to Herman’s character, as

well as his motivations and learned experience gained through shelter-life and homelessness:

                  One evening Herman was again walking me to my destination in
                  the pouring rain. I remember holding close to him because the
                  neighborhood was not the safest, I felt the need to grab tighter hold
                  of him as a homeless woman was getting ready to walk past us.
                  While I was ready to speed up Herman made sure to slow down as
                  the women who had clearly fallen on hard times was getting ready
                  to brush past the two of us. I didn’t know what to expect next but
                  was so taken aback when I saw Herman give this woman in need
                  what little money he had in his pants pocket. After asking if he
                  had known this woman drenched in the rain, walking with all of
                  her belongings in a shopping cart he said “no but I always give to
                  the homeless and you should to”. This along with so many other
                  moments of selflessness are what fostered a friendship that lasted
                  more than 15 years.

Exhibit A at 3.




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       Tracey Taylor, a childhood friend of Herman’s, stated that the charges came as a shock to

her.   Tracey has known Herman for about 20 years.              She used to attend school in the

neighborhood where he lived. She stated that Herman, whom she dated briefly has been a true

friend to her over the years. She said that despite the problems in the community, Herman stood

out as a person inclined to be productive rather than to cause trouble. She also cited Herman’s

capacity to be charitable and to take an active interest in the needs of others. Tracey, who has a

long history of kidney problems, stated that Herman accompanied her at times when she went for

dialysis treatment. She was successful in having a kidney transplant and Herman was there to

support her. As she further discussed in a letter to Your Honor:

                  I have known Mr. Blanco as a good friend and neighbor for over
                  twenty years. At the age of 9 I was diagnosed with kidney failure
                  and was put on dialysis. I can recall the countless times Mr.
                  Blanco has taken me to dialysis, picked me up and cared for me.

                  I have been by Mr. Blanco side supporting him through these
                  trying times as he was once for me. It comes as no surprise that he
                  is ready to accept accountability for his actions. I believe that as
                  we move forward, he will emerge a better person than he was
                  yesterday. Mr. Blanco is a loving warm individual loved by his
                  family and friends.

Exhibit A at 4.

       Robbert Kean, another longtime friend and neighbor adds:

                  Herman Blanco has always been an upright character in the
                  community. In our friendship he has really been there for me
                  especially when the company I work for closed. He made it a
                  point to be there and show a significant amount of support during a
                  sudden and abrupt job search. It was Herman Blanco that was a
                  source of support for both me and my family. He has truly been a
                  good friend over the years.

Exhibit A at 6.

       Herman’s brother writes:



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                  Herman Blanco is a very caring person who takes care of his
                  family. He’s looked after me and my sister ever since we were
                  kids. As a boy, he always tried to help our mother the best he
                  could. For example, when our stepfather, [Pedro] Lino, got a
                  stroke and was hospitalized, Herman stepped up with the rent and
                  made sure we had food in the refrigerator. He also would babysit
                  my nephew and made sure we always had clothes for school.

                  Herman stepped up to the plate when we needed him. Even today,
                  when we speak on the phone, he still shows that he is thinking
                  about the welfare of me and our family.

Exhibit A at 2.

        Herman’s mother and additional friends have also written to Your Honor to express their

support. See, generally, Exhibit A. They all recognize that Herman participated in a murder,

pled guilty to the charges, and has accepted responsibility for his role in the murder, but the

common thread throughout is an honest – and we believe accurate – belief that “Herman Blanco

is a good person” at heart. Exhibit A at 1. A good person who acknowledges that he made a bad

decision to participate in a tragic crime.

        Finally, we note that as one would expect from the man described in the quoted letters

above and attached, Herman has not had any disciplinary problems since his incarceration at the

MDC, and we do not anticipate him having difficulty adjusting to the conditions of his

confinement as he serves out the remainder of his sentence.

        F.        A measure of lenience is also warranted by the conditions of
                  confinement that Mr. Blanco has been subjected to at the MDC
                  during the duration of this case.

        Absent from the PSR, and thus presumably absent from the Probation Department’s

consideration of its recommended sentence, are the abhorrent conditions of confinement that

Herman has been forced to endure during the nearly four years he was detained at the MDC.5


5
         Mr. Blanco was detained at the MDC from November 16, 2018, until approximately August 2022. He was
transferred to Hudson County Jail shortly before the Zottola trial began.

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       Your Honor is well aware of the conditions of confinement that inmates have been

subjected to at the MDC during the COVID-19 pandemic as well as during the 2019 blackouts.

However well-intentioned the measures were, the conditions exacted an immeasurable toll on

Mr. Blanco and many of the other inmates. For most of the pandemic and during both pre-

pandemic blackouts, Mr. Blanco was “locked down” almost 24 hours per day. At times during

the pandemic inmates were allowed out of their cells for an hour, at other times for an hour and a

half or two hours, and other times not for more than 30 minutes, if permitted out at all. Normal

food service was interrupted and could not be supplemented by commissary, which was likewise

curtailed. Days would go by, multiple times over a week, where inmates were deprived basic

sanitary conditions such as a shower or cleaning supplies for their cells – this despite COVID-19

raging alarmingly through the jails and at one-point feces backing up and floating through the

cells due to massive flooding.

       Judge McMahon described the conditions at the MCC and MDC during the pandemic in

one case as “inhumane, cruel and harsh, and unreasonably unjust.” Transcript, dated, April 29,

2021, at 11, United States v. Days, 19 Cr. 619 (CM) (SDNY). In another case, Judge McMahon

restated her concerns, describing the “inhumane conditions” at the MCC and MDC as

“conditions that should not exist at any incarcerative facility in the United States of America,”

harshly condemning the MCC and MDC as “prisons of which this country should be massively

ashamed.” Transcript, dated, May 5, 2021, at 12, 16, United States v. Nunez, 19 Cr. 691 (CM)

(SDNY).

       Other judges in this Circuit have weighed in as well agreeing that defendants incarcerated

during the pandemic at the MCC and/or MDC have until recently spent “[most of the time … in

lockdown conditions 23 hours a day, basically like solitary confinement with no access to



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visitors for most of that time….” Transcript, dated, April 2, 2021, at 17, United States v.

Gonzalez, 18 Cr. 669 (JPO) (SDNY).

       Indeed, within the context of the Court’s 18 U.S.C. § 3553(a) analysis, Judge Oetken

ruled that “because it’s been harsher than a usual period that it’s more punitive, that it’s

essentially the equivalent of either time and a half or two times what would ordinarily be served.

So I think having served 24 months is equivalent to having served three years. That’s what I

believe in terms of how punitive it’s been and how harsh it’s been.” Id. at 17-18. See also

United States v. Juan Carlos Aracena de Jesus, 20 Cr. 19 (PAE) (SDNY July 1, 2020)

(substantial downward variance from 30 to 37 months to six months in part because of the

“horrific conditions” at MCC during the pandemic); United States v. Morgan, 19 Cr. 209 (RMB)

(SDNY May 5, 2020) (cutting the sentence to less than half of the low end of the Guidelines

based in part based on conditions at MDC during the pandemic and condemning the conditions

at MCC and MDC even prior to the pandemic); United States v. Dayss, 19 Cr. 863 (VSB)

(SDNY May 4, 2020) (reducing the length of the sentence in part based on conditions at MCC

during the COVID-19 pandemic); United States v. Pierson, 14 Cr. 855 (LTS) (SDNY May 4,

2020) (same for defendant detained at MDC).

       Each of these issues appear to have been omitted from the Probation Department’s

consideration of its recommended sentence for Mr. Blanco in this case. We respectfully submit,

however, that the conditions of confinement at the MDC during the period of time that Mr.

Blanco was detained there (November 16, 2018, until approximately August 2022) is an

appropriate additional consideration under 18 U.S.C. § 3553(a).




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IV.    The sentence on Counts 1 and 2 should be ordered to run concurrently

       In reaching this Court’s decision on the appropriate total sentence in this case, the

defense respectfully submits that the sentences should run concurrently with each other since the

conspiracy (Count 1) and the substantive offense (Count 2) relate to the same underlying

conduct.

       In United States v. Pugh, supra, 945 F.3d 9, 27 (2d Cir. 2019), the Second Circuit

recently emphasized that a presumption in favor of concurrent sentencing applies in most

instances. In that case, the defendant was convicted of one count of providing material support

to a terrorist organization under 18 U.S.C. § 2339B(a)(1) and one count of obstruction of justice

under 18 U.S.C. §§ 1512(c)(1),(c)(2). The defendant was sentenced to the statutory maximum of

180 months’ imprisonment on the terrorism count to be followed by a consecutive sentence of

240 months’ imprisonment on the obstruction count, again the statutory maximum, for an

aggregate sentence of 420 months’ imprisonment. The Second Circuit reversed on procedural

grounds finding that the District Court, Judge Garaufis, failed to sufficiently articulate its

reasoning for imposing the maximum sentence. In doing so the Second Circuit explained:

              [W]hen a defendant has been convicted of multiple counts, the
              sentencing judge should set forth why a sentence equal to the
              statutory maximum on one count will not produce a sufficient
              sentence within the meaning of 18 U.S.C. § 3553(a). That
              principle is reflected in the Guidelines, which provide a
              presumption in favor of concurrent sentences except when
              consecutive sentences are required in order to impose a total
              sentence reflecting just punishment. See U.S.S.G. § 5G1.2(c) (“If
              the sentence imposed on the count carrying the highest statutory
              maximum is adequate to achieve the total punishment, then the
              sentences on all counts shall run concurrently, except to the extent
              otherwise required by law.”).

Pugh, 945 F.3d at 27. The Second Circuit continued:




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               A district court should explain why the total punishment imposed
               is sufficient, but not greater than necessary, taking into account the
               particular characteristics of the defendant and the circumstances of
               the offense. That justification should guide the determination
               whether to impose sentences on multiple counts consecutively,
               partially consecutively, or concurrently.           Explaining why
               concurrent sentences would not achieve a “sufficient” sentence
               is particularly appropriate where, as here, each statutory
               imprisonment range is quite long, the district court imposed the
               statutory maximum for each count, with the counts to run
               consecutively, and, therefore, the defendant was sentenced to the
               longest legal sentence available.

               Ultimately, after consideration of the section 3553(a) factors, the
               district court must impose a sentence that is sufficient, but not
               greater than necessary, to fulfill the purposes of sentencing. In
               doing so, if the court determines that a lower sentence will be just
               as effective as a higher sentence, it must choose the lower
               sentence. See United States v. Ministro-Tapia, 470 F.3d 137, 142
               (2d Cir. 2006) (“[I]f a district court were explicitly to conclude that
               two sentences equally served the statutory purposes of [section]
               3553, it could not, consistent with the parsimony clause, impose
               the higher.”).

Pugh, 945 F.3d at 27-28 (emphasis added); see also U.S.S.G. § 5G1.2, Application Note 1

(explaining, inter alia, “Except as otherwise required by subsection (e) or any other law, the total

punishment is to be imposed on each count and the sentences on all counts are to be imposed to

run concurrently to the extent allowed by the statutory maximum sentence of imprisonment for

each count of conviction.”) (emphasis added).

       Here, Mr. Blanco has pleaded guilty to his role in the murder-for-hire (Count 2) and

conspiracy to commit murder-for-hire (Count 1) of Sylvester Zotolla.            He was neither the

architect of the scheme nor the shooter. Indeed, there is no dispute that he was not even present

for the murder nor is there an allegation that he was ever intended to be the shooter. Mr. Blanco

was certainly involved in key moments of the conspiracy, which is one reason why the defense

agreed not to advocate for a sentence below 240 months’ imprisonment, but he was not the



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individual primarily driving or directing the action. Nor was he indispensable to the ultimate

success of the crimes. Thus, for all of the reasons discussed above, because both counts arise out

of the same underlying conduct charged in the same case, the presumption in favor of concurrent

sentencing applies. Moreover, because Mr. Blanco’s role was not so aggravating as to overcome

that presumption, a concurrent sentence is appropriate in this case.

       Finally, we note that a sentence of no more than 20 years imprisonment is also

fundamentally reasonable and would avoid unwarranted sentencing disparities given Mr.

Blanco’s relative role in the case. Both this District and the other Districts in this Circuit have a

long history determining 20 years (or around 20 years) to be a reasonable sentence for

defendants convicted of participating in a murder, including in cases in which the defendant took

on a greater role than Mr. Blanco.

       For example, in United States v. Jose Rodriguez and Kyle Mullings, 19 Cr. 779 (AKH)

(SDNY), the defendant (Mullings) who ordered the murder of a rival gang member and also

provided the guns to the shooters to do so received a sentence of 240 months’ imprisonment, and

the defendant (Rodriguez) who was present for the murder and attempted to shoot the victim (but

had his gun jam) received 225 months’ imprisonment.6 Similarly, in United States v. Jamie

Rivera, 17 Cr. 050 (DRH) (EDNY), the defendant received a sentence of 220 months’

imprisonment as the shooter of an innocent individual who had been erroneously believed to

have been involved in an earlier altercation between two rival gangs. Notably, the Government

and the defense jointly recommended a 17-year term of imprisonment in that case. Also, most

recently, in United States v. Humberto Rodriguez, et al., 20 Cr. 301 (PKC) (SDNY), the shooter

(Rodriguez) received a sentence of 222 months imprisonment, the defendant who provided the



6
       The shooter in that case cooperated and his sentence is either not public or has not yet taken place.

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gun to the shooter (Abello) received a sentence of 212 months’ imprisonment, and the lookout

(Tavarez) received a sentence of 144 months.

       Indeed, in MS-13 cases, almost all more brutal than this case, there are many such

examples:

       Defendant                         Docket No.                                   Sentence
       Yonis Acosta-                     10 Cr. 074 (JFB) (EDNY)                      240 months
       Yanes
       Mario Diaz                        14 Cr. 068 (JFB) (EDNY)                      240 months
       Jeremias Amaya-                   14 Cr. 068 (JFB) (EDNY)                      252 months
       Ramirez
       Yobany Calderon                   10 Cr. 074 (JFB) (EDNY)                      262 months
       Oscar Guifarro                    14 Cr. 068 (JFB) (EDNY)                      180 months
       Edwin        Yovani               14 Cr. 068 (JFB) (EDNY)                      216 months
       Guillen
       Mario     Alphonso                10 Cr. 074 (JFB) (EDNY)                      264 months
       Herrera-Umanzor
       Jose David Luis                   04 Cr. 939 (LDW) (EDNY)                      260 months
       Oscar     Alexander               03 Cr. 851 (ADS) (EDNY)                      204 months
       Ortega-Aroujo
       Jose Luis Racinas                 04 Cr. 939 (LDW) (EDNY)                      240 months
       Louis Ruiz                        10 Cr. 074 (JFB) (EDNY)                      276 months7
       Edgardo      Salino-              04 Cr. 939 (LDW) (EDNY)                      240 months
       Galiano
       Hector Torres                     12 Cr. 063 (JFB) (EDNY)                      204 months
       Geovany Valledares                14 Cr. 068 (JFB) (EDNY)                      204 months
       David Valle                       10 Cr. 074 (JFB) (EDNY)                      252 months8
       Franklin Villatoro                10 Cr. 074 (JFB) (EDNY)                      210 months
       Mario Zuniga                      03 Cr. 851 (ADS) (EDNY)                      240 months

       For all of these reasons, an aggregate sentence of 240 months’ imprisonment would

likewise promote consistency between the Southern and Eastern Districts of New York and

avoid unwarranted sentencing disparities. See 18 U.S.C. § 3553(a)(6) (“the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct”).

7
       After a guilty plea encompassing coverage for two charged murders and one uncharged murder.
8
       After a guilty plea encompassing coverage for two charged murders.

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V.     Conclusion

       This case presents a situation where the defendant has been convicted of very serious

crimes and stands prepared to accept whatever sentence this Court deems appropriate. The

question, however, is how lengthy must the sentence be to be sufficient, but not greater than

necessary, to satisfy the purpose of imposing the sentence in the first place?

       We respectfully submit that an aggregate sentence of no more than 240 months’

imprisonment is appropriate for this defendant in this case. Such would be a reasonable and just

sentence that could comply with the presumption that Mr. Blanco’s two counts of conviction run

concurrently to each other. Such a sentence is also appropriate when one balances the severity of

the offense with the substantial mitigation discussed herein, which favors a reasonable,

measured, approach to a determination of Mr. Blanco’s sentence. Moreover, such a term of

imprisonment would be consistent with the needs of sentencing outlined in 18 U.S.C. § 3553(a),

and would be sufficient, and not greater than necessary, to achieve those goals.

Dated: New York, New York
       November 22, 2022

                                      Respectfully submitted,




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